 Case 2:19-cv-07722-ODW-JEM Document 94 Filed 09/02/20 Page 1 of 1 Page ID #:3894

    WHEN RECORDED MAIL TO:
    John Marlow
    c/o Chanea Young
    Consumer Financial Protection Bureau
    1700 G Street NW
    Washington, DC 20552



                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                          CASE NUMBER:
 Bureau of Consumer Financial Protection,

                                    PLAINTIFF(S),       CV 2:19-cv-07722-ODW-JEMx
                          v.

 Certified Forensic Loan Auditors, LLC;                        ABSTRACT OF JUDGMENT/ORDER
 Andrew Lehman;and Michael Cazrigan,
                                  DEFENDANT(S).


I certify that in the above-entitled action and Court, Judgment/Order was entered on 7/20/2020
in favor of Bureau of Consumer Financial Protection,
whose address is 1700 G Street, NW,Washington, DC,20552
and against Andrew Lehman
whose last known address is 94 Bayou Lane, Kemah,TX 77565
for $40000                       Principal, $0                    Interest, $ 0                     Costs,
and$0                            Attorney Fees.

ATTESTED this          2nd             day of September          , 2020.
Judgment debtor's driver's license no. and state;                       (last 4 digits) ❑Unknown.
Judgment debtor's Social Security number;                               (last 4 digits) ❑Unknown.
❑ No stay of enforcement ordered by Court
❑ Stay of enforcement ordered by Court,stay date ends



Judgment debtor's attorney's name and address and/or address at which summons was served:


Andrew Lehman                                                                                    .~            Y
                                                                     CLERK, U.S. DISTRICT
94 Bayou Lane,
Kemah,TX 77565                                            sy         •.
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NOTE:JUDGMENTS REGISTERED UNDER 28 U.S.C. 41963 BEAR THE RATE OFINTEREST OF THE DISTRICT OF ORIGIN
AND CALCULATED AS OF THE DATE OF ENTRYIN THAT DISTRICT

G-18 (03/12)                            ABSTRACT OF JUDGMENT/ORDER
